_, Case 8:14-cV-027O4-P.]I\/| Document 2 Filed 08/2§/14f Page _'L of 5

GENESIS OFFICE SYSTEMS,

INCORPORATED
2410 Ross Road

st. Leonard,‘ Maryland 20685

IN THE

CIRCUIT COUR'I`

FOR
Plaintii`f,

CALVERT COUNTY
v.

PNC BANK, NATIONAL
ASSOCIATION

249 Fifth Avenue

Pittsburgh, Pennsylvania 15222

Residcnt Agen :

CSC Lawyers Incorpora_ting

Service Company

7 St. Paul Street, Suitc 1660

Baltimore, MD 21202

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Defendant.

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COMPLAINT (and demand for Jurv Trial)
Convcrsion

Gcncsis Oflicc Systems, lnc. (hercinaftcr “Gencsis”), Plaintiff, sues PNC Bank,

Naticnal Association (hcrcinafter “PNC”), Dcfendant, and says:
JURISDICTION
1. Plaintiff has its principle office in Calvert County, Maryland.

2. Dcfcndant operates its banking business in Calvert Ccunty, Maryland, and

Plaintiffwas injured by. its banking practices

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FACTS

3. in May 2014, Piainafrs c.E.o. Mr. sound Hawkins visited PNC frank to
redeem two Certiflcates ofDeposit (hereinafter -“CD”) the company had secured in 1997
and 2001 (pius the interest on them), the former for ten thousand dollars (310,000.00) and
the latter for one hundred thousand dollars ($100,000.00). §§e. Attached Exhibit “A”

l 4. i)ue to the company’s success in the late nineties, the CDs were secured,
retained, ,and “put away” for future use.

5. Because of company needs, a business decision was made to redeem the CDS. k

6. The only official of Genesis with the authority to redeem CDs, write ehecks,
authorize financial expenditures, etc. is the Chief Executive Offlcer, Mr. Ronald Hawkins
' (hereinatter “Mr. Hawkins”).

7. Hence, Mr. Hawkins visited a Princ'e Frederick, Maryland, PNC Branch with
the two CDS in his hand to redeem them. He was informed by bank officials that some
research needed to be done before they would allow redemption

8. A week iater, Mr. Hawkins was informed that the only records the bank had on
the CDS "were some statements from a former bank PNC acquired,~-showing “TD-
REDEMPTION.” §§e_. Attached Exhibit “B”'

9. in shock, Mr. Hawkins informed the Defendant that he did not redeem the CDs,

and no one else could have since he, as the C.E.O., was the only person who was '

authorized to do such for the eompany. Mr. Hawl<ins also asked the bank for proof of

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[a] the identity of who they allege obtained the hinds and [b] the signed redemption form
_ for the CDs. l l
lO. The Defend_ant failed to provide the proof requested, failed to provide video
'proof, failed to provide any bank official verifying redemption, and failed to return the
`Pldinarrs fundsl
11. The Plaintiff turned the matter over to its_corporate counsel
. 12. After being contacted by Plaintiff’s counsel (by telephone and in writing) and
informed that it was holding CD funds that belonged\to the Plaintiff, had no right to
retain the funds after'receiving a proper request for them from the Plaintiff, could not rely
on its own poor internal operating procedures to justify keeping the funds, and needed to
return the hinds by a date certain, Defendant flatly refused to return the Plaintiff’ s funds

and did not do so.

WHEREFORE, Genesis Officc Systems, Inc. demands judgment against the
Defendant for [l] ten thousand dollars ($10,000.00),. [2] one hundred thousand dollars
- ($100,000.0_0), [3]'all interest reflected on the “Certificate`ofDeposit Statements”
attached as Exhibit “B” (i.e., $6,481.52), [4] all court costs, and [5] all attorney’S fees (for
the defendant’s unjustified defense), such fees presently being $1,125.00 (5 hours at

$225.00 per hour).

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I solemnly ajz`rm, under the penalties of perjury and upon personal knowledge

that the contents of the foregotng paper true. l
z “"‘ @/? ’/”\/

/zr. Ronald Hawkz'ns Date
C..E O. of Genests Ojtce Systems, Inc. .

 

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DEMAND FOR .]URY TRIAL

Genesis Office Systems, Inc. demands ajury trial in this action.

     

  

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